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EXHIBIT B
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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

ee Xx
In Re: Chapter 11
Case No.
01-01139 JKF
W.R. Grace & Co., et al.,
(Jointly
Debtors. Administered)
xX

* * * CONFIDENTIAL * * *

May 13, 2009
DEPOSITION of RICHARD FINKE, held
at the offices of Kirkland & Ellis, 655
Fifteenth Street, N.W., Washington, DC,
commencing at 9:32 A.M., on the above
date, before Lisa Lynch, a Registered
Merit Reporter, New Jersey Certified Court
Reporter, License No. XI00825, and
Certified Realtime Reporter
MAGNA LEGAL SERVICES, LLP
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1 Q. Is it your position that
2 contribution and indemnification claims
3 fit within the indirect PI definition?
4 A. Yes.
5 Q. Mr. Lewis had asked you a
6 series of questions with regard to the
7 treatment of Libby claimants' claims under
8 the Plan and their claims specifically as

9 to Maryland Casualty, the State of Montana
10 and Burlington Northern. Do you recall

11 that questioning?

12 A. Yes.
13 Q. I believe you testified --
14 and obviously correct me if I'm wrong --

15 that the Libby claimants' claims against
16 the State that give rise to the State's

17 claims against the debtors for

18 indemnification or contribution go into

19 the Trust.

20 MS. HARDING: Object to
21 form.

22 Q. Is that your testimony?
23 A. That the Montana -- that

24 the State of Montana's claims for

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23

24

indemnification would be channeled to the
Trust, yes.

Q. And you also testified that
the State does not get the benefit of the
524(g) injunction?

A. That's correct.

Q. Sir, you testified that to
the extent there was independent conduct,
those claims would not go into the Trust.
Is that correct?

MS. HARDING: Object to
form and I think it's -- it doesn't
properly characterize the extent
and -- extent of everything that
you said but to the extent you can
answer, go ahead.

Q. If you want to clarify what
you testified to earlier as far as
independent conduct not going to the
Trust, I'd appreciate it.

A. Right. I believe I
testified that it is our understanding
that to the extent the State of Montana's

liable to Libby claimants based on causes

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1 of action that are separate and

2 independent from any Grace liability, that

3 the -- that the State's liability would
4 not be -- or the State would not have
5 recourse to the PI Trust for that

6 liability.
7 Q. What do you mean by
8 separate and independent liability from

9 Grace's liability?

10 MS. HARDING: Object to

11 form. Tt think calls for

12 speculation. But to the extent you
13 can answer, go ahead.

14 A. Well, in this instance,

15 it's my recollection -- although I haven't

16 gone back to look at the decision, it is
17 my recollection that the Supreme Court of
18 Montana found that the State had an

19 independent duty to at least some of the
20 Libby claimants and that with respect to
21 the State of Montana, that's what I had in
22 mind.

23 Q. You had in mind the

24 Montana's Supreme Court decision?

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1 A. Yes.
2 Q. As you sit here today as a
3 representative of the estate, how do you
4 define independent conduct on the part of
5 the State of Montana?
6 MS. HARDING: Object to
7 form and object to the extent that
8 it calls for legal analysis and
9 legal conclusion. I think it's an
10 improper question but -- and it's
11 overly broad. To the extent you
12 can answer, go ahead. And if you
13 can't answer, I would caution you
14 not to speculate, SO...
15 A. Conduct that, you know, for
16 which Grace has no liability and which is
17 not derivative of any Grace liability.
18 Q. Let me follow up with:
19 What do you mean by derivative on the part
20 of Grace?
21 MS. HARDING: Same
22 objection.
23 A. I'm sure --
24 MS. HARDING: IT just want

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1 to object to the extent that it
2 calls for a legal conclusion under
3 Montana law so --
4 A. And I'll add I'm sure
5 there's a better way to articulate it but
6 I really don't have an explanation better
7 at this point.
8 Q. And do you believe that it
9 relates to what would be --
10 A. Could you repeat the
11 question, please?
12 Q. ~- derivative under Montana
13 law?
14 MS. HARDING: Can you Just
15 restate the question, please?
16 Q. Sure. That was
17 inarticulate. I apologize.
18 I was asking you what did you mean

19 by derivative liability and I believe your
20 answer was you couldn't articulate that.
21 Is that fair to say?

22 A. Yes. Sitting here, I

23 really don't feel comfortable trying to

24 articulate it.

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1 Q. If we wanted to find out
2 what derivative liability is, where would
3 you look?
4 A. I would --
5 MS. HARDING: Object to
6 form.
7 A. I would want to conduct
8 some legal research on it.
9 Q. Mr. Finke, I believe you
10 had testified earlier in the line of
11 questioning from Mr. Lewis as to the
12 ‘benefits the Plan proponents received from
13 the channeling injunction and one of those

14 benefits you articulated to be it enabled
15 the debtors to apply uniform standards to
16 similar claims to avoid inequities of the

17 tort system. Is that a fair

18 characterization of your earlier

19 testimony?

20 A. Yes, that was one of the
21 reasons.

22 Q. Okay. Do you consider the
23 State of Montana's contribution and

24 indemnity claims similar to other claims

